Case 1:20-cr-00238-JRS-TAB Document 149 Filed 03/25/22 Page 1 of 1 PageID #: 1125

                            UNITED STATES DISTRICT COURT
                                Southern District of Indiana


   UNITED STATES OF AMERICA                      )
                      Plaintiff,                 )
                                                 )
           vs.                                   ) CASE NO. 1:20−cr−00238−JRS−TAB
                                                 )
   DARRYL BRENT WALTZ                            )
                 Defendant(s)                    )


                    NOTICE OF FILING OF OFFICIAL TRANSCRIPT

            Notice is hereby given that an official transcript of a proceeding has been filed by
   the court reporter in the above−captioned matter. The parties have seven (7) calendar days
   to file with the Court a Notice of Intent to Redact this transcript, after which the parties
   have twenty−one (21) calendar days from the filing of the transcript to file the Redaction
   Statement. A Redaction Statement must include the page and line of the transcript where
   the redaction is being requested. If neither a Notice of Intent to Redact nor a Redaction
   Statement is filed, the unredacted transcript will be made electronically available to the
   public after ninety (90) calendar days.


           Any party needing a copy of the transcript to review for redaction purposes may
   purchase a copy from the court reporter or view the document at the Clerk's Office public
   terminal.

   DATE: March 25, 2022                           s/ Cathy Jones
                                                  Court Reporter


                                      Certificate of Service

           I hereby certify that on the date noted above a copy of the foregoing Notice of
   Filing Official Transcript was served on the parties in this matter by operation of the
   Court's CM/ECF electronic filing system as to all registered attorneys, and/or I mailed the
   document to non−registered participants by first−class U.S. Mail, postage prepaid.



                                                  s/ Cathy Jones
                                                  Court Reporter
